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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )                    4:09CR3111
                                             )
            v.                               )
                                             )
HECTOR N. CERVANTES RIVERA,                  )         ORDER ON MOTION TO SEAL
                                             )
                   Defendants.               )
                                             )


     IT IS ORDERED the Motion to Seal, ECF No. 120, is granted.

     Dated April 30, 2012.

                                    BY THE COURT




                                    Warren K. Urbom
                                    United States Senior District Judge
